

Matter of Tobin (2023 NY Slip Op 01222)





Matter of Tobin


2023 NY Slip Op 01222


Decided on March 9, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:March 9, 2023

PM-45-23
[*1]In the Matter of Francine Norz Tobin, an Attorney. (Attorney Registration No. 2346534.)

Calendar Date:March 6, 2023

Before:Lynch, J.P., Clark, Pritzker, Reynolds Fitzgerald and McShan, JJ.

Francine Norz Tobin, Hilton Head, South Carolina, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Francine Norz Tobin was admitted to practice by this Court in 1990 and lists a business address in Hilton Head, South Carolina with the Office of Court Administration. Tobin has applied to this Court, by affidavit sworn to January 4, 2023, for leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) opposes the application, contending that Tobin is ineligible for nondisciplinary resignation because she has failed to fulfill her attorney registration requirements for the most recent biennial period beginning in 2022 (see Judiciary Law § 468-a; Matter of Lee, 148 AD3d 1350, 1350 [3d Dept 2017]; Matter of Bomba, 146 AD3d 1226, 1226-1227 [3d Dept 2017]; Rules of Chief Admr of Cts [22 NYCRR] § 118.1).
In reply to AGC's opposition, however, Tobin has submitted supplemental correspondence, dated February 7, 2023, in which she attests that she is now current in her New York attorney registration requirements. Furthermore, Office of Court Administration records likewise establish that Tobin has duly registered and cured any preexisting registration delinquency. Accordingly, with AGC voicing no other substantive objection to her application, and having determined that Tobin is now eligible to resign for nondisciplinary reasons (compare Matter of Tierney, 148 AD3d 1457, 1458 [3d Dept 2017]; Matter of Bomba, 146 AD3d at 1227), we grant the application and accept her resignation.
Lynch, J.P., Clark, Pritzker, Reynolds Fitzgerald and McShan, JJ., concur.
ORDERED that Francine Norz Tobin's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Francine Norz Tobin's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Francine Norz Tobin is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Tobin is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Francine Norz Tobin shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








